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                             UNITED STATES DISTRICT COURT
   15
                            CENTRAL DISTRICT OF CALIFORNIA
   16
   17                              EASTERN DIVISION
   18 Alec Fisher, et al.,                       )   Case No.: EDCV12-02188 VAP (OPX)
                                                 )
   19                                            )   Plaintiffs’ Opposition to Defendants’
                             Plaintiffs,         )   Motion to Dismiss First Amended
   20                                            )   Complaint
   21                                            )
              vs.                                )   Date: June 17, 2013
   22                                            )   Time: 2:00 p.m.
        Monster Beverage Corporation., et al.,   )   Courtroom: The Hon. Virginia A. Phillips
   23                                            )
                             Defendants.         )
   24
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     1 I.        SUMMARY OF FACTS AND ARGUMENT
     2           Plaintiffs Alec Fisher, Matthew Townsend and Connor Rucks bring this action
     3 to address defendants Monster Beverage Corporation and Monster Energy
     4 Company’s (collectively, “Monster”) deliberate corporate strategy of aggressively and
     5 deceptively marketing Monster Energy® Branded Drinks (“Monster Drinks”)1 in a
     6 manner designed to make young people believe that it is perfectly normal — and
     7 indeed trendy and desirable — to drink large quantities of Monster Drinks throughout
     8 the day and night, despite their potency. For example, Monster goes to elaborate
     9 lengths to make its sponsored athletes and musicians appear to drink Monster Drinks
    10 throughout the day when in fact they are secretly drinking water disguised as Monster
    11 Drinks. ¶¶10, 79–84. Indeed, Monster’s executives specifically developed Monster
    12 Drinks to go after “what young, male consumers really wanted” to make it “their
    13 lifestyle,” even selecting the name “Monster Energy” from focus group results of
    14 teenage males. ¶¶42–45; Ex. A. Monster’s 2009 internal marketing document
    15 evidences Monster’s strategy to target kids as young as nine years old. ¶¶8, 53; Ex. A.
    16 To that end, Monster sponsors athletes 13 or younger and the Monster Army website
    17 is designed for young kids and has a massive following. ¶¶59, 68.
    18           Monster is today’s Joe Camel. ¶¶8–11, 44. Monster’s advertising campaign is no
    19 different than the Joe Camel cigarette campaign that California courts found was an
    20 unfair, unlawful, and fraudulent business practice because it targeted minors. Id. Much
    21 like Joe Camel, Monster promotes “free” gear, which consumers of Monster Drinks
    22 can obtain by sending in tabs for hoodies, beanies and Monster Girls calendars. ¶¶66–
    23 67. Monster’s use of women and sex to sell Monster Drinks only reinforces their
    24 corporate strategy — Monster even employs Ash Hodges, whose primary
    25
         1
    26  See Amended Complaint (“AC”), ¶¶1, 153 (listing out the 28 varieties at issue in this
       case). (All paragraph (“¶”) and Exhibit references are to the AC filed on March 7,
    27
       2013. ECF 20.)
    28
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     1 responsibilities include taking provocative videos of half- naked women and dirty talk.
     2 ¶¶60–65.
     3           Meanwhile, the AC details numerous physician and scientific studies finding
     4 that the consumption of large amounts of caffeine, combined with other active
     5 ingredients like guarana, taurine, carnitine, sugar that are found in Monster Drinks,
     6 can have serious health consequences such as: insomnia, palpitations, tachycardia,
     7 hypertension, dehydration, kidney failure, and headaches. ¶¶7, 86, 96, 101–128; Ex. B.
     8 There are reports of serious bodily harm and death linked to Monster Drinks. ¶¶92–
     9 97; Ex. B. Monster, however, provides minimal general warnings regarding their
    10 Monster Drinks and none for the youth they target (¶88) about the serious health
    11 risks of the frequent and excessive consumption of Monster Drinks — consumption
    12 that defendants’ practices are designed to encourage as being perfectly safe and
    13 normal by representing that Monster Drinks are the “ideal combo of the right
    14 ingredients in the right proportion to deliver the big bad buzz” or that it
    15 “hydrates like a sports drink.” ¶¶73–81, 97–98. Each of these elements of defendants’
    16 scheme is alleged with particularity in the AC.
    17           It is this corporate conduct that plaintiffs ask the Court to evaluate in light of
    18 state interests in consumer protection as it relates to health and safety. The AC alleges
    19 that Monster Drinks have not been through pre-market review by the U.S. Food and
    20 Drug Administration (“FDA”) because of their designation as “dietary supplements”
    21 and the FDA concedes it has no authority to require Monster to do so. ¶¶7, 137.
    22 Ironically, the foregoing allegations and documents are precisely the documents and
    23 allegations that Monster wishes to strike claiming they are extraneous to what
    24 defendants pretend that this case is about.2 But this case is not primarily about
    25
    26   2
         Defendants do not even seriously attempt to meet Rule 12(f)’s high bar. “Motions to
    27 strike generally will not be granted unless it is clear that the matter to be stricken
    28 could not have any possible bearing on the subject matter of the litigation.” In re
                                                                                                      2
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     1 labeling and the FDA, so the question of preemption and primary jurisdiction is
     2 irrelevant. This case is not solely — or even primarily — about defendants’
     3 “beverages” or plaintiffs’ experiences “purchasing or consuming those beverages.”3
     4 Ironically, Monster only began classifying Monster Drinks as “beverages” in April
     5 2013 and has only implemented this change in one flavor. Instead, this case is
     6 primarily about defendants’ intentionally tortious and fraudulent corporate conduct.
     7 To wit, this case is about precisely what is in fact particularly alleged in the AC
     8 under precisely the appropriate and uniquely relevant state consumer-protection
     9 statutes. It is about a deliberate, tortious, reckless consumer-fraud scheme/pattern
    10 directed at consumers and particularly harmful for young people. This conduct
    11 violates state law and directly implicates the inherent constitutional right of states to
    12 protect their citizens.
    13 II.       LEGAL STANDARD ON A MOTION TO DISMISS
    14           Neither Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L.
    15 Ed. 2d 929 (2007), nor Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed.
    16 2d 868 (2009), requires that plaintiffs prove their case in the complaint or include
    17 every factual detail in support of their claims. In resolving a Rule 12(b)(6) motion, the
    18 Court must first accept all allegations of material fact as true and construe them in the
    19 light most favorable to the non-moving party. Cedars-Sinai Med. Ctr. v. Nat’l League of
    20
    21 Facebook PPC Adver. Litig., 709 F. Supp. 2d 762, 773 (N.D. Cal. 2010). A court should
       not strike allegations supplying background or historical material unless it is unduly
    22 prejudicial to the opponent. See LeDuc v. Ky. Cent. Life Ins. Co., 814 F. Supp. 820, 830
    23 (N.D. Cal. 1992); see also Reid v. Johnson & Johnson, No. 11cv1310 L (BLM), 2012 WL
       4108114, at *12 (S.D. Cal. Sept. 18, 2012) (denying motion to strike scientific studies);
    24 Morey v. NextFoods, Inc., No. 10 CV 761 JM (NLS), 2010 WL 2473314, at *3 (S.D. Cal.
    25 June 7, 2010) (denying motion to strike allegations containing advertisements that
       plaintiff neither saw, nor relied on).
    26
       3
         Ironically, Monster only began classifying Monster Drinks as “beverages” in April
    27
       2013 and has only implemented this change in one flavor.
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     1 Postmasters, 497 F.3d 972, 975 (9th Cir. 2007). Material allegations, even if doubtful in
     2 fact, are assumed to be true. Twombly, 550 U.S. at 555. As for the “plausibility”
     3 threshold set forth in Twombly, plaintiffs’ allegations must be considered as a whole. Id.
     4 at 569, n.14. Courts do not require “heightened fact pleading of specifics.” Id. at 555.
     5           In particular, pre-discovery Rule 12(b)(6) motions to dismiss claims under the
     6 UCL, FAL, and CLRA are only appropriate in the most “rare” of circumstances.4 See
     7 Williams v. Gerber Prods. Co., 552 F.3d 934, 939 (9th Cir. 2008). This is because the
     8 “reasonable consumer” standard — which governs the ultimate question of liability in
     9 UCL, FAL, and CLRA cases — is, by its very definition, a fact-based inquiry. Id.
    10 III.      ARGUMENT
    11           A.      The AC Easily Meet the Standards of Both Rules 8(a) and 9(b).
    12           Judging from the extraordinary breadth of their motion to dismiss, along with
    13 the lengthy appendix and related motion to strike and request for judicial notice,5
    14 defendants have had more than a “fair opportunity to frame a responsive pleading.”
    15 F.R.Civ.P. 8(a). Indeed defendants’ kitchen-sink motion is so broad that it includes
    16 both a challenge to the particularity of the AC under Rule 8, as well as a challenge to a
    17 lack of particularity under Rule 9(b).
    18           Rule 8 provides that a claim for relief must be supported by “a short plain
    19 statement showing that the pleader is entitled to relief.” F.R.Civ.P. 8(a)(2). A plaintiff
    20 need only “plead[] factual content that allows the court to draw the reasonable
    21
    22   4
         “UCL” refers to California’s Unfair Competition Law, Cal. Bus. & Prof. Code
    23 §§17200,  et seq. and 17500, et seq.; “FAL” refers to False Advertising Law; “CLRA”
       refers to Consumer Legal Remedies Act, Cal. Civ. Code §1750, et seq.; and “MMWA”
    24 refers to Magnuson-Moss Warranty Act, 15 U.S.C. §2301.
    25 5
         Defendants’ motion plainly flouts this Court’s rule limiting memoranda in support of
    26 motions to 25 pages, including a so-called “Appendix” of lengthy argument in tabular
       form. Meanwhile, the long-shot motion generally violates this Court’s Standing Order.
    27
       ECF 5 at 2–3 (discouraging motions to dismiss).
    28
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     1 inference that the defendant is liable for the misconduct alleged.” Ashcroft, 556 U.S. at
     2 678. Plaintiffs have certainly done that here.
     3           As a general rule, a “pleading is sufficient under Rule 9(b) if it identifies ‘the
     4 circumstances constituting fraud so that the defendant can prepare an adequate
     5 answer from the allegations.’” Semegen v. Weidner, 780 F.2d 727, 734–35 (9th Cir.
     6 1985).6 Plaintiffs’ allegations also easily meet the requirements of Rule 9(b). Plaintiffs
     7 have adequately alleged “the who, what, when, where, and how” of the purportedly
     8 misleading statements. Vess v. Ciba-Geigy Corp., 317 F.3d 1097, 1106 (9th Cir. 2003).
     9 Specifically, the AC pleads:
    10           WHO & WHAT: Plaintiffs have identified the 28 categories of Monster
    11 Drinks (¶¶1, 153) and its labeling and marketing as the deceptive products and
    12 identified defendants Monster Beverage Corporation and Monster Energy Company
    13 as the manufacturer and marketer (¶¶2, 25–26). Deceptive statements include: “It’s
    14 the ideal combo of the right ingredients in the right proportion to deliver the
    15 big bad buzz that only Monster can;” “our products are safe based on both our
    16 and the industry’s long track record and the scientific evidence supporting the safety
    17 of our ingredients. We estimate that about 50 billion cans of energy drinks have been
    18 sold and safely consumed worldwide” (¶¶73–78, 88, 91, 98); “Delivers twice the
    19 buzz;” “quenches thirst;” “hydrates like a sports drink.” Additionally, defendants
    20 misleadingly use water in Monster-branded cans to make it look like the celebrity
    21 musicians and athlete sponsors are drinking Monster Drinks to influence consumers.
    22 ¶¶79–84.
    23           WHEN: The false, misleading, deceptive, and unfair statements were made
    24 from at least December 12, 2008 to the present. ¶¶1, 153. The AC identifies when
    25
    26
         6
          Citations and internal quotations are omitted and emphasis is added unless otherwise
    27
         noted.
    28
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     1 each of the plaintiffs purchased the Monster Drinks — Fisher and Townsend since
     2 2007 (¶¶22–23, 29–31, 34) and Rucks since 2003 (¶¶25, 37).
     3           WHERE & HOW: The false, misleading, deceptive and unfair statements
     4 were made at the point-of-sale on the Monster Drinks themselves, as well as on
     5 defendants’ website and other promotional materials. ¶¶53–89. Plaintiffs also explain
     6 how the statements are deceptive because they are marketed as safe via
     7 playful/seductive advertising and product placement near sports drinks and juices but
     8 fail to warn of the serious health risks of consumption of Monster Drinks by the
     9 youth and children that they target with their advertising (¶¶4, 53–72); and that
    10 plaintiffs bought Monster Drinks reasonably relying on defendants’
    11 misrepresentations and omissions (¶¶29–37).
    12           Plaintiffs’ allegations satisfy Rule 9(b). See, e.g., Peviani v. Natural Balance, Inc., 774
    13 F. Supp. 2d 1066, 1071 (S.D. Cal. 2011) (Rule 9(b) met where plaintiff provided the
    14 “what” and “who” by identifying “Cobra Sexual Energy” and its labeling as the
    15 allegedly deceptive product and Natural Balance as its manufacturer and marketer;
    16 plaintiff provides the “when” by stating the year that she bought the product at a CVS
    17 pharmacy; and the “where” and “how” by providing pictures of the product’s labels
    18 and listing the challenged statements with an explanation of how they are deceptive);
    19 accord Jones v. ConAgra Foods, Inc., No. C 12-01633 CRB, 2012 WL 6569393, at *10
    20 (N.D. Cal. Dec. 17, 2012) (same).
    21           Contrary to defendants’ claim, plaintiffs may represent and allege claims for all
    22 28 varieties of Monster Drinks. ECF 28 at 6. The majority of the courts that have
    23 analyzed this question hold that a plaintiff may have standing to assert claims for
    24 unnamed class members based on products he or she did not purchase so long as the
    25 products and alleged misrepresentations are substantially similar. See, e.g., Astiana v.
    26 Dreyer’s Grand Ice Cream, Inc., No. C-11-2910 EMC, 2012 WL 2990766, at *11 (N.D.
    27 Cal. July 20, 2012) (where plaintiffs are challenging the same basic mislabeling practice
    28 across different ice-cream flavors, the difference in ingredients is not dispositive, “the
                                                                                                           6
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     1 critical inquiry seems to be whether there is sufficient similarity between the products
     2 purchased and not purchased”); see also Anderson v. Jamba Juice Co., 888 F. Supp. 2d
     3 1000, 1006 (N.D. Cal. 2012) (denying defendants’ motion to dismiss for lack of
     4 standing where plaintiff had purchased two of the five smoothie-kit flavor varieties
     5 finding that there was sufficient similarity between the products purchased). Here, the
     6 different varieties of Monster Drinks are substantially similar since the core
     7 ingredients are similar even where the flavor may vary. See Colucci v. ZonePerfect Nutrition
     8 Co., No. 12-2907-SC, 2012 WL 6737800, at *4 (N.D. Cal. Dec. 28, 2012) (finding that
     9 plaintiff who bought only one variety of a nutrition bar had standing under both
    10 Article III and UCL purposes to sue for alleged mislabeling of all 20 nutrition bar
    11 flavors).
    12           Defendants’ contention that plaintiffs offer little or no factual support for their
    13 “health risks” allegations, is specious. ECF 28 at 6–7. The AC is replete with facts
    14 regarding scientific studies and other reports — allegations that defendants seek to
    15 strike — that underscore the dangers of consumption of all energy drinks, including
    16 specifically Monster Drinks. ¶¶86, 92 (six death reports mentioned consumption of
    17 Monster Drinks), 97, 101–106; Ex. B (detailing adverse events linked to Monster
    18 Drinks). Defendants also confuse the specificity requirements of Rule 9(b), claiming
    19 that plaintiffs do not identify the particular advertisement or misleading label upon
    20 which they relied in making their purchases. At the pleading stage, however, a plaintiff
    21 is “not required to plead with an unrealistic degree of specificity that the plaintiff
    22 relied on particular advertisements or statements.” Morey, 2010 WL 2473314, at *2
    23 (citing In re Tobacco II Cases, 46 Cal. 4th 298, 328 (2009)) (finding that plaintiff’s
    24 allegations that she purchased defendant’s products in reliance on NextFoods’
    25 advertising is sufficient).
    26           Defendants contend that the AC failed to specifically connect defendants’
    27 marketing campaign to plaintiffs. ECF 28 at 8. It does. The AC alleges defendants’
    28 unique marketing scheme of “brand awareness through image enhancing programs
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     1 and product sampling” targeted to youth and minors and then directly ties it in to
     2 plaintiffs’ experiences — Fisher and Rucks tried their first Monster Drink as teenagers
     3 when they got a free can from a Monster truck parked outside their high school. ¶¶29,
     4 32, 37; see Lima v. Gateway, Inc., 710 F. Supp. 2d 1000, 1007–08 (C.D. Cal. 2010)
     5 (denying motion to dismiss noting: “[Defendants’] statements, however, cannot be
     6 considered in isolation because they contribute to the deceptive context of the
     7 advertising as a whole. . . . The relevant question is whether the statements, taken as a
     8 whole, are likely to deceive members of the public.”).
     9           Finally, defendants claim Cardenas v. NBTY, Inc., 870 F. Supp. 2d 984, 993
    10 (E.D. Cal. 2012), was dismissed for failure to satisfy Rule 9(b). ECF 28 at 8. In fact,
    11 defendant’s motion to dismiss was denied because the complaint there satisfied Rule
    12 9(b). See Cardenas, 870 F. Supp. 2d at 994. Defendants are wrong that some or all of
    13 plaintiffs’ claims may be time-barred based on Yumul v. Smart Balance, Inc., 733 F.
    14 Supp. 2d 1117 (C.D. Cal. 2010). ECF 28 at 8. Plaintiff in Yumul filed suit on February
    15 8, 2010 alleging a class period going back ten years beginning January 1, 2000. 733 F.
    16 Supp. 2d at 1120. Plaintiffs here filed suit on December 12, 2012 for an appropriate
    17 class period of four years. ¶153.7 The AC allegations are more than sufficient to give
    18 Monster fair notice of the particular misconduct forming the basis of plaintiffs’
    19 claims.
    20           B.      Plaintiffs Have Established Standing.
    21           Each of the three plaintiffs has standing. Standing requires an injury in fact,
    22 which is traceable to the defendant’s acts and redressable by a court decision. See
    23 Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S. Ct. 2130, 119 L. Ed. 2d 351
    24 (1992). Injury, in fact, results from the “invasion of a legally protected interest which
    25
         7
    26  To the extent that a three-year statute of limitations applies to CLRA claims,
       plaintiffs will make adjustments to the class definitions or create sub-classes as
    27
       necessary at the class certification stage.
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     1 is … concrete and particularized.” Id. at 560. “Particularized means that the injury
     2 must affect the plaintiff in a personal and individual way.” Id. at n.1.
     3           “There are innumerable ways in which economic injury from unfair
     4 competition may be shown.” See Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 323
     5 (2011). Lost money or property, as alleged in the AC, is “a classic form of injury in
     6 fact.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 183–84,
     7 120 S. Ct. 693, 145 L. Ed. 2d 610 (2000) (economic harm is among the bases for
     8 injury in fact); Troyk v. Farmers Group, Inc., 171 Cal. App. 4th 1305, 1347 (2009)
     9 (emphasis in original) (quoting Danvers Motor Co., Inc. v. Ford Motor Co., 432 F.3d 286,
    10 291 (3d. Cir. 2005) (“‘While it is difficult to reduce injury-in-fact to a simple formula,
    11 economic injury is one of its paradigmatic forms.’”)); Pirozzi v. Apple Inc., No. 12-
    12 CV-01529 YGR, 2012 WL 6652453, at *4 (N.D. Cal. Dec. 20, 2012) (“Overpaying for
    13 goods or purchasing goods a person otherwise would not have purchased based upon
    14 alleged misrepresentations by the manufacturer would satisfy the injury-in-fact and
    15 causation requirements for Article III standing.”).
    16           The Ninth Circuit has concluded that “economic injury is clearly a sufficient
    17 basis for standing.” See San Diego Cnty. Gun Rights Comm. v. Reno, 98 F.3d 1121, 1130
    18 (9th Cir. 1996); see also Degelmann v. Advanced Medical Optics Inc., 659 F.3d 835, 839 (9th
    19 Cir. 2011) (plaintiffs alleged inquiry where they purchased contact lens solution in
    20 reliance on representations that it would disinfect their lenses and would not have
    21 purchased the product had they known how poorly it actually worked). The court in
    22 Brazil v. Dole Food Co., No. 12-CV-01831-LHK, 2013 WL 1209955, at *12 (N.D. Cal.
    23 Mar. 25, 2013), recently rejected a similar argument made by defendants here finding
    24 plaintiff had Article III standing despite defendants’ contention that plaintiff did not
    25 suffer an injury in fact because he did not allege any physical harm was caused by
    26 ingesting the product.
    27           This is neither a personal injury nor products liability case. This case is about
    28 Monster’s failure to warn consumers of the dangers associated with consuming
                                                                                                       9
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     1 Monster Drinks and the false and misleading representations and omissions in the
     2 marketing, labeling and manufacturing of the products. Economic injury is one of the
     3 many acceptable types of injury-in-fact, and it meets the broad standing requirement
     4 of Article III.
     5           Ignoring relevant precedent, defendants focus on decisions that are
     6 distinguishable. In Boysen v. Walgreen Co., No. C 11-06262 SI, 2012 WL 2953069, at *6
     7 (N.D. Cal. July 19, 2012), the court found that the complained-of-injury — lead in
     8 fruit juice — had been deemed safe by the FDA.8 The court found the plaintiff had
     9 not alleged that “defendant’s products exceed FDA guidelines for toxins in fruit
    10 juices,” and therefore, had not established that the “juices at issue were unfit for their
    11 intended use.” Id. Accordingly, the plaintiffs did not suffer injury-in-fact. See id.
    12           Each of the plaintiffs purchased Monster Drinks believing they were safe for
    13 consumption based upon Monster’s labeling and marketing of the product. See ¶¶29,
    14 36–37 (nothing on the labeling of the Monster Drinks led plaintiffs to believe that
    15 drinking them could be bad for their health and the plaintiffs would not have spent
    16 money buying Monster Drinks (i.e. economic injury) had Monster fully disclosed the
    17 risks of consuming them).
    18           C.      Plaintiffs’ Claims Are Not Preempted — They Do Not Seek to
    19                   Enforce Federal Regulations, Nor Are Such Regulations a
    20                   Necessary Element of the Claims.
    21           Federal preemption occurs when: (1) Congress enacts a statute that explicitly
    22 preempts state law; (2) state law actually conflicts with federal law; or (3) federal law
    23
         8
    24  In re Fruit Juice Products and Marketing Sales Practices Litigation, 831 F. Supp. 2d 507 (D.
       Mass. 2011), which contains a similar analysis to that found in Boysen, supra, is
    25
       distinguishable for the same reasons. See also Brod v. Sioux Honey Ass’n, Co-op., No. C–
    26 12–1322 EMC, 2013 WL 752479, at *7 (N.D. Cal. Feb. 27, 2013) (distinguishing
       Rivera v. Wyeth-Ayerst Laboratories, 283 F.3d 315, 320 (5th Cir. 2013) and Boysen to find
    27
       that plaintiff who asserted claims under the UCL and CLRA had Article III standing).
    28
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     1 occupies a legislative field to such an extent that it is reasonable to conclude that
     2 Congress left no room for state regulation in that field. Chae v. SLM Corp., 593 F.3d
     3 936, 941 (9th Cir. 2010). A court’s preemption analysis must “start with the
     4 assumption that the historic police powers of the States [are] not to be superseded by
     5 the Federal Act unless that was the clear and manifest purpose of Congress.”
     6 Medtronic, Inc. v. Lohr, 518 U.S. 470, 485, 116 S. Ct. 2240, 135 L. Ed. 2d 700 (1996).
     7 Even “[i]f a federal law contains an express pre-emption clause, it does not
     8 immediately end the inquiry because the question of the substance and scope of
     9 Congress’ displacement of state law still remains.” Altria Group, Inc. v. Good, 555 U.S.
    10 70, 76, 129 S. Ct. 538, 172 L. Ed. 2d 398 (2008). The Supreme Court has repeatedly
    11 stated that “the mere existence of a federal regulatory scheme,” even a particularly
    12 detailed one, “does not by itself imply pre-emption of state remedies.” English v. Gen.
    13 Elec. Co., 496 U.S. 72, 87, 110 S. Ct. 2270, 110 L. Ed. 2d 65 (1990).
    14           This approach “is consistent with both federalism concerns and the historic
    15 primacy of state regulation of matters of health and safety.” Lohr, 518 U.S. at 485.
    16 Therefore, “[p]arties seeking to invalidate a state law based on preemption ‘bear the
    17 considerable burden of overcoming ‘th[is] starting presumption that Congress does
    18 not intend to supplant state law.’” Stengel v. Medtronic Inc., 704 F.3d 1224, 1227–28 (9th
    19 Cir. 2013) (en banc) (quoting De Buono v. NYSA-ILA Med. & Clinical Servs. Fund, 520
    20 U.S. 806, 814, 117 S. Ct. 1747, 138 L. Ed. 2d 21 (1997)).
    21           There is an especially strong presumption against federal preemption in this
    22 case as the regulation of health and safety, is traditionally within states’ historic police
    23 powers. See Florida Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 144, 83 S. Ct.
    24 1210, 10 L. Ed. 2d 248 (1963) (“States have always possessed a legitimate interest in
    25 ‘the protection of [their] people against fraud and deception in the sale of food
    26 products’ at retail markets within their borders.”) (quoting Plumley v. Massachusetts, 155
    27 U.S. 461, 472, 15 S. Ct. 154, 39 L. Ed. 223 (1894)). Indeed the FDA has stated that it
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     1 does not intend to occupy the field of food and beverage labeling. Holk v. Snapple
     2 Beverage Corp., 575 F.3d 329, 338 (3d Cir. 2009) (state law not preempted).
     3           The states’ plenary control over food, health and safety is even more
     4 compelling in this case as it involves products that have already caused multiple
     5 injuries and deaths. Ex. B. This case also involves the deliberate targeting of young
     6 people through various dishonest practices that are aimed at convincing this particular
     7 age group recklessly to consume large amounts of the risky products. Ex. A. These
     8 young people are particularly susceptible to being influenced by defendants’ dishonest
     9 practices, and they are also at an age that makes them particularly physically vulnerable
    10 to the toxicity and riskiness of defendants’ products. ¶¶8, 53–84; Exs. A–B. Put
    11 simply, if there was ever a case in which there is a strong presumption against federal
    12 preemption — a case involving drinks, harm to citizens, young people and deceptive
    13 practices — this is it.
    14           Nevertheless, consistent with the latest fad of raising long-shot preemption
    15 arguments in any case remotely referencing federal regulation, the defense here asserts
    16 that this case should be dismissed because it allegedly involves nothing more than
    17 food-labeling claims that “piggyback on alleged regulatory violations.” ECF 28 at 13.
    18 The problem with this straw-man argument is that federal laws or regulations are not
    19 even a necessary element of the claims of this case. The FDA even concedes in this
    20 case that it has no authority to require Monster to pre-market review of Monster
    21 Drinks. ¶¶7,137.
    22           This is not primarily a labeling case. Labeling and the FDA are part of the
    23 context of the case, but they are certainly not at its core. Defendants do not wish even
    24 to acknowledge this core. Perhaps this is why defendants on the first page of their
    25 motion to dismiss describe the AC as a confusing “propaganda piece.” ECF 28 at 1.
    26 This so-called propaganda — the heart of this case — consists of detailed and
    27 compelling facts about defendants’ tortious, reckless, fraudulent and unfair corporate
    28 conduct. These facts are clear and overwhelming. But instead of even addressing these
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     1 facts, defendants simply write off dozens of pages of allegations as “propaganda” that
     2 need not be acknowledged, perhaps hoping that the Court does not actually read the
     3 AC.
     4           Plaintiffs do not claim that Monster’s “Proprietary Blend” label disclosures, in
     5 and of themselves, fail to comport with the corresponding basic labeling requirements
     6 of the Federal Food, Drug, and Cosmetic Act (“FDCA”). Id. at 15. Instead — to use
     7 defendants’ example of Starbucks to illustrate — other differences between the
     8 corporate conduct of Monster and a company such as Starbucks are the true basis of
     9 plaintiffs’ claims — state-law claims that would be valid and overwhelming even if the
    10 FDA, the FDCA and the National Labeling and Education Act (“NLEA”) had never
    11 existed.
    12           Starbucks does not deliberately trick its target youth market into believing that
    13 pro skateboarders, bikini models, rock stars, extreme sports athletes and other teen
    14 idols are downing liters of Starbucks coffee throughout the day — when in fact they
    15 are secretly drinking water disguised as Starbucks coffee. ¶¶79–81. Starbucks does not
    16 target — as a matter of corporate strategy — young people born between 1985 and
    17 2000. Ex. A. Starbucks does not sponsor punk rock musicians and extreme-sports
    18 athletes. Id. Starbucks does not engage in a deliberate strategy to “influence the image
    19 makers who influence their peers.” Id. Starbucks does not promote new recipes for
    20 alcohol drinks based on combining Starbucks coffee with alcohol. Id. Starbucks’ image
    21 is not “built” — again, as a matter of deliberate corporate strategy — upon “Action
    22 Sports,” “Music” and “Girls.” Id. There are no scantily-clad “Starbucks Girls.” ¶¶60–
    23 66, 81; Ex. A. Starbucks’ intentional and focused marketing message is not that
    24 “[Starbucks] is about action sports, punk rock music, partying, girls, and living life on
    25 the edge.” Id. Starbucks does not give its adolescent customers free hoodies, beanies
    26 and pin-up calendars if they send in 30 coffee lids. ¶¶66–68. Starbucks does not
    27 promote its coffee with ads featuring a close-up shot of the rear of a young woman
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     1 wearing a thong bikini with a cup of Starbucks coffee tucked underneath the thong-
     2 strap. Id.
     3           These claims go far beyond labeling. Instead these are deliberate and
     4 intentional tortious acts that violate the laws of California and other states, as detailed
     5 in the AC and discussed infra, conduct that would violate state laws even in the
     6 absence of the FDCA, NLEA and FDA. And as the Supreme Court has clarified, this
     7 is precisely the test for whether or not a claim under state law is impliedly preempted
     8 by federal regulation. If the state law claim — like the claims in this case — would
     9 exist in the absence of the federal regulations, then the state law claim is by definition
    10 not preempted. Specifically, in Buckman Co. v. Plaintiffs’ Legal Committee, 531 U.S. 341,
    11 347, 121 S. Ct. 1012, 148 L. Ed. 2d 854 (2001), the Supreme Court deemed preempted
    12 a state tort claim that the defendant defrauded the FDA in the course of obtaining
    13 approval for its medical devices and that, as a result, the devices improperly obtained
    14 market clearance and were later used to the plaintiffs’ detriment. The claims, the
    15 Court held, did not rely on “traditional state tort law,” for the FDCA’s existence was
    16 “a critical element” of the plaintiffs’ case. Id. at 353. In other words, were it not for
    17 the federal regulatory scheme that the FDCA created, there would have been no fraud
    18 that could support the tort claim. As the Sixth Circuit recently stated: “The question,
    19 then, is how to determine whether a claim formally asserted under state law is in
    20 substance one seeking to enforce the FDCA.” The Supreme Court supplied the test in
    21 Buckman: If the claim would not exist in the absence of the FDCA, it is impliedly
    22 preempted.”9 Loreto v. P&G Co., No. 10-4274, 2013 WL 645952, at *2 (6th Cir. Feb.
    23 22, 2013).
    24
    25
         9
    26  One can only imagine the injustices and absurdities that would result were this not
       the rule. Without it, companies in compliance with the federal regulations pertinent to
    27 their industry could act with blanket impunity — even to the point of engaging in
    28 extortion, fraud, theft or even murder. Indeed something akin to such impunity —
                                                                                                   14
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     1           The reasoning in the Ninth Circuit opinion on preemption arguments regarding
     2 a broker-dealer’s sales of a product that had been approved by federal regulators
     3 applies here:
     4                   [Plaintiff] Lippitt here makes no effort to enforce either a
     5           provision of the [Securities Exchange Act of 1934 (hereinafter, the
     6           “Exchange Act”)] Act or a rule/regulation promulgated by the NYSE.
     7           Rather, he seeks to use a state statute, namely California’s Unfair
     8           Competition Law, as a vehicle to hold Defendants liable for misleading
     9           and deceptive practices associated with the sale and marketing of callable
    10           CDs. . . .
    11           We cannot allow Defendants’ attempt to expand the scope of §27 [of the
    12           Exchange Act] in a manner that vitiates state law remedies expressly
    13           preserved by §28 [of the Exchange Act]. That the specific goal of
    14           protecting California customers from dishonest business practices,
    15           whether by brokers or otherwise, may comport with the broader
    16           regulatory goals of the Exchange Act and certain NYSE rules and
    17           regulations is not enough to sweep Lippitt’s complaint within the
    18           exclusive jurisdictional ambit of §27.
    19 Lippitt v. Raymond James Fin. Servs., 340 F.3d 1033, 1043–44 (9th Cir. 2003).
    20           In the Lippitt complaint, the plaintiff described the riskiness of callable CDs in
    21 order to remedy the dishonest business practices of the brokers. Here, plaintiffs
    22 describe in their complaint the riskiness and toxicity of Monster Drinks in order to
    23 place in proper relief the dishonest corporate conduct of defendants. In Lippitt, the
    24 callable CDs are “approved” by the NYSE. Here, the Monster Drinks have not even
    25
    26
         including the right to engage in fraud and cause the injury and even the death of
    27
         Californians — is what Monster impliedly demands in its preemption arguments.
    28
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     1 been subject to pre-market review by the FDA. ¶¶7, 137. In Lippitt, the goal of
     2 protecting California customers from dishonest business practices comports with
     3 certain of the broader regulatory goals of the Exchange Act and certain NYSE rules.
     4 Here, the goal of protecting consumers from dishonest business practices comports
     5 with certain of the broader regulatory goals of the FDCA and NLEA and certain
     6 FDA rules. In Lippitt, the fact that the goals of California laws are consistent with
     7 certain of the goals of the Exchange Act and NYSE is not sufficient to sweep
     8 Lippitt’s complaint within the exclusive jurisdictional ambit of §27. Here, the fact that
     9 the goals of state consumer-protection laws are consistent with certain of the goals
    10 of the FDCA and NLEA is not sufficient to sweep plaintiffs’ AC within the exclusive
    11 jurisdictional ambit of the FDA and FDCA.
    12           Moreover, the “jurisdictional ambit” of the FDA and FDCA are even more
    13 proscribed here than the Exchange Act was in Lippitt. To wit, the FDA and FDCA
    14 are simply “not focused on the truth or falsity of advertising claims.” Sandoz Pharms.
    15 Corp. v. Richardson-Vicks, Inc., 902 F.2d 222, 230 (3rd Cir. 1990). For example, 21
    16 U.S.C. §3431(a), the FDCA’s preemption language upon which defendants rely,
    17 preempts only: (1) any non-identical requirement for a food which is the subject of a
    18 standard of identity; (2) any non-identical requirement for the labeling of food; and (3)
    19 any non-identical requirement for nutrition labeling of food. Meanwhile, the NLEA
    20 also contains an uncodified express savings clause: “The [NLEA] shall not be
    21 construed to preempt any provision of State law, unless such provision is expressly
    22 preempted under [§3431(a)].” Wright v. Gen. Mills, Inc. No. 08cv1532 L (NLS), 2009
    23 WL 3247148, at *2 (S.D. Cal. Sept. 30, 2009) (citing Pub. L. No. 101535, §6(c)(1)).
    24           Finally, defendants rely heavily upon POM Wonderful LLC v. Coca-Cola Co., 679
    25 F.3d 1170, 1175 (9th Cir. 2012). Notably, in Stengel, which the Ninth Circuit heard en
    26 banc after POM Wonderful, the court held that state law claims that parallel federal law
    27 duties under the MDA of the FDCA are not preempted “either expressly or
    28 impliedly” by the FDCA. Stengel, 704 F.3d at 1233; see also Yourth v. Phusion Projects,
                                                                                                 16
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     1 LLC, No. 1:11-CV-01261(NAM/CFH), slip op. (N.D.N.Y. Sept. 27, 2012) (entirely
     2 denying motion to dismiss state law claims for failure-to-warn despite the fact that
     3 beverage label fully complied with applicable regulations)(attached as Exhibit 1 to the
     4 Declaration of Azra Mehdi (“Mehdi Decl.”), filed concurrently herewith); Brazil, 2013
     5 WL 1209955, at *7(noting that POM Wonderful limited its ruling to federal Lanham
     6 Act and explicitly declined to address if plaintiff’s state law claims were preemption).
     7 In so doing, the Ninth Circuit reiterated the strong “presumption against preemption
     8 of state laws that operate in traditional state domains.” Id. at 1227.10
     9           D.      The Primary Jurisdiction Doctrine Is Inapplicable Here as This Is
    10                   Precisely the Sort of Fact-Specific Case that Is Best Resolved by a
    11                   Court.
    12           The primary jurisdiction doctrine “is a ‘prudential’ one, under which a court
    13 determines that an otherwise cognizable claim implicates technical and policy
    14 questions that should be addressed in the first instance by the agency with regulatory
    15 authority over the relevant industry rather than by the judicial branch.” Clark v. Time
    16 Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008).
    17           First, no technical questions are created by this case that requires any particular
    18 expertise. On the contrary, this is a “total circumstances” consumer harm and
    19 deception case perfectly suited to resolution by a court. Second, this is a case about
    20 the egregious conduct of a single company, as opposed to a case that presents policy
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         10
            In their typical kitchen-sink approach, defendants do not even attempt to articulate
    23
         the standard for establishing a violation of the dormant commerce clause, or explain if
    24   that standard is met here. ECF 28 at 18. See Int’l Dairy Foods Ass’n v. Boggs, 622 F.3d
         628, 649 (6th Cir. 2010) (dormant clause not violated where Ohio’s labeling rule’s
    25
         intended benefit — consumer protection — outweighed the burdens on interstate
    26   commerce). Similarly, defendants’ safe harbor argument is without merit since
         plaintiffs seek disclosures regarding the health risks of caffeine consumption. ECF 28
    27
         at 19–20.
    28
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     1 questions regarding an industry as a whole. This is a case involving particularized facts
     2 about particularized conduct by a particular cast of characters, which is, again,
     3 precisely the sort of matter best resolved by a court.
     4           “‘Every day courts decide whether conduct is misleading,’” and the
     5 “‘reasonable-consumer determination and other issues involved in Plaintiff’s lawsuit
     6 are within the expertise of the courts to resolve.’” ConAgra, 2012 WL 6569393, at *7
     7 (quoting Lockwood v. ConAgra Foods, Inc., 597 F. Supp. 2d 1028, 1035 (N.D. Cal. 2009),
     8 and Delacruz v. CytoSport, No. 11-3532 CW, 2012 WL 2563857, at *10 (N.D. Cal. June
     9 28, 2012)); see also Chacanaca v. The Quaker Oats Co., 752 F. Supp. 2d 1111, 1124 (N.D.
    10 Cal. 2010) (stating that plaintiffs advance a “relatively straightforward claim: they
    11 assert that defendant has violated FDA regulations and marketed a product that could
    12 mislead a reasonable consumer. This is a question courts are well-equipped to
    13 handle”).
    14           Third, it is not even clear which federal agency the defendants’ feel should have
    15 primary jurisdiction over the case. The FDA11 or the FTC? Defendants
    16 mischaracterize five paragraphs where the AC indirectly and peripherally references
    17 the FDA as a concession of the FDA’s primary authority. ECF 28 at 17. Those
    18 paragraphs concede no such thing. ¶¶86, 90, 92, 113, 123. This case that involves
    19 consumer fairness and deception, safety, children, labeling and advertising
    20 encompassing a circumstance-specific inquiry that is obviously best suited to a court.
    21           E.      The UCL, FAL and CLRA Claims State a Claim for Relief.
    22                   1.       Plaintiffs Sufficiently Plead Reliance.
    23           The reliance element of plaintiffs’ UCL, FAL and CLRA causes of action are
    24 not subject to the heightened pleading requirement of Rule 9(b) because they are not
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    26
         11
           As discussed above, the FDA and FDCA have no jurisdiction or expertise in the
    27
         area of advertising claims.
    28
                                                                                                18
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     1 solely grounded in fraud. Plaintiff need only allege he would have behaved differently
     2 if he had been aware of the undisclosed information. Shin v. BMW of North America,
     3 No. CV 09-00398 AHM (AJWx), 2009 WL 2163509, at *4 (C.D. Cal. July 16, 2009),
     4 (citing Cal. Bus. & Prof. Code §17204; Cal. Civ. Code §1780(a); Kearns v. Ford Motor
     5 Co., 567 F.3d 1120, 1125 (9th Cir. 2009)); see also Morey, 2010 WL 2473314, at *2 (“At
     6 the pleading stage, however, a plaintiff is ‘not required to plead with an unrealistic
     7 degree of specificity that the plaintiff relied on particular advertisements or
     8 statements.’”).
     9           Specifically, plaintiffs allege Monster has violated the California consumer
    10 protection statutes by, inter alia: (1) failing to warn consumers that Monster Drinks
    11 may increase blood pressure and/or heart rate of consumers, may cause nervousness,
    12 irritability and/or sleeplessness; (2) failing to disclose, or adequately disclose, the risks
    13 associated with the proprietary energy blend; (3) labeling and describing Monster
    14 Drinks in a manner as to appeal to children and youth, (4) promoting the stocking of
    15 Monster Drinks near sports drinks and comparing the hydration benefits to sports
    16 drinks; (5) failing to warn of the particular dangers inherent in consuming a highly
    17 caffeinated beverage containing other additives to form a proprietary energy blend; (6)
    18 labeling, advertising, marketing and promoting Monster Drinks as safe for
    19 consumption when they knew or had access to information that indicated those
    20 representations were false and misleading. See ¶¶172, 176–178, 187–188, 200–201.
    21           Under a fraud theory, plaintiffs would be required to show “that the
    22 misrepresentation was an immediate cause of the injury-producing conduct.” Kwikset,
    23 51 Cal. 4th at 327 (citing Tobacco II, 46 Cal. 4th at 326). “[A] ‘plaintiff is not required to
    24 allege that [the challenged] misrepresentations were the sole or even the decisive cause
    25 of the injury-producing conduct.’” Id. (quoting Tobacco II, 46 Cal. 4th at 328). Reliance
    26 is understood to mean “reliance on a statement for its truth and accuracy.” Id., n.10.
    27 As the Kwikset court emphasized, “labels matter.” Id. at 328. Deceptive labeling claims
    28 under the UCL, the FAL, and the CLRA are evaluated by whether a “reasonable
                                                                                                  19
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     1 consumer” would likely be deceived. Williams v. Gerber Prods. Co., 523 F.3d 934, 939
     2 (9th Cir. 2008) (reversing denial of motion to dismiss) (citing Freeman v. Time, Inc., 68
     3 F.3d 285, 289 (9th Cir. 1995)). The California Supreme Court has recognized that
     4 “these laws prohibit not only advertising which is false, but also advertising which[,]
     5 although true, is either actually misleading or which has a capacity, likelihood or
     6 tendency to deceive or confuse the public.” Id. (quoting Kasky v. Nike, Inc., 27 Cal. 4th
     7 939, 951 (2002)). Generally, the question of whether a business practice is deceptive
     8 presents a question of fact not suitable for resolution on a motion to dismiss. Id.;
     9 Bronson v. Johnson & Johnson, Inc., No. C 12–04184 CRB, 2013 WL 1629191, at *10
    10 (N.D. Cal. Apr. 16, 2013).
    11           Plaintiffs allege that they relied on the claims on the Monster Drink cans and
    12 the marketing and advertising of the drinks — specifically; they relied on Monster’s
    13 omission of any warning that the drinks could be bad for their health or contain
    14 exceedingly high levels of caffeine. See ¶¶29, 31–32, 36–37. These allegations of
    15 reliance are more than sufficient under federal pleading standards. See Shin, 2009 WL
    16 2163509, at *4; Morey, 2010 WL 2473314, at *2; see also Rikos v. P&G, 782 F. Supp. 2d
    17 522, 535 (2011) (“Plaintiff alleges that all of the advertising statements carried the
    18 same message, which is sufficient to state a claim at [the pleading] stage.”).
    19                   2.       The AC Sufficiently Pleads the Failure to Warn Claim.
    20           Plaintiffs’ allegations support their claims that Monster failed to warn
    21 consumers of the risks associated with consumption of Monster Drinks. If “material
    22 misrepresentations have been made to the entire class, an inference of reliance arises
    23 as to the class.” Stearns, 655 F.3d at 1022 (quoting In re Vioxx Class Cases, 180 Cal.
    24 App. 4th 116, 129 (2009)); see also Vasquez v. Superior Court, 4 Cal. 3d 800, 814 (1971).
    25 The same rule applies to cases regarding omissions or failures to disclose as well. See
    26 McAdams v. Monier, Inc., 182 Cal. App. 4th 174, 184 (2010) (holding that because of
    27 defendant’s failure to disclose information “which would have been material to any
    28 reasonable person who purchased” the product, a presumption of reliance was
                                                                                                   20
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     1 justified); Mass. Mut. Life Ins. Co. v. Superior Court, 97 Cal. App. 4th 1282, 1293 (2002)
     2 (“[H]ere the record permits an inference of common reliance. Plaintiffs contend Mass.
     3 Mutual failed to disclose its own concerns about the premiums it was paying and that
     4 those concerns would have been material to any reasonable person contemplating the
     5 purchase . . . .” If proved, that would “be sufficient to give rise to the inference of
     6 common reliance on representations which were materially deficient.”).
     7           “A plaintiff may successfully pursue a CLRA claim [based on a fraudulent
     8 omission] . . . if [the manufacturer] was obliged to disclose the potential for
     9 problems.” Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088, 1094 (N.D. Cal. 2007).
    10 Such a duty exists if one of the following circumstances exists: “(1) when the
    11 defendant is in a fiduciary relationship with the plaintiff; (2) when the defendant had
    12 exclusive knowledge of material facts not known to the plaintiff; (3) when the
    13 defendant actively conceals a material fact from the plaintiff; and (4) when the
    14 defendant makes partial representations but also suppresses some material fact.” Id. at
    15 1095. “[A] duty to disclose may arise if a plaintiff alleges … ‘safety concerns posed by
    16 the defect.’” Ho v. Toyota Motor Corp., No. 12-2672 SC, 2013 WL 1087846, at *7 (N.D.
    17 Cal. Mar. 14, 2013) (quoting Daugherty v. Am. Honda Motor Co., Inc., 144 Cal. App. 4th
    18 824, 836 (2006)); see also Falk, 496 F. Supp. 2d 1088 (holding that a fact can give rise
    19 to a duty to disclose and an actionable omission if it implicates safety concerns that a
    20 reasonable consumer would find material). Because at least two of the four
    21 circumstances exist here, Monster had a duty to disclose.
    22           “A defendant has exclusive knowledge giving rise to a duty to disclose when
    23 ‘according to the complaint, [defendant] knew of this defect while plaintiffs did not,
    24 and, given the nature of the defect, it was difficult to discover.’” Herron v. Best Buy Co.,
    25 No. 2:12-cv-02103-GEB-JFM, 2013 WL 595474, at *10 (E.D. Cal. Feb. 14, 2013)
    26 (citing Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 256 (2011)); see also Falk, 496 F.
    27 Supp. 2d at 1096–97(finding exclusive knowledge because defendant had access to
    28 significant data unavailable to the public about the defect, and because “customers
                                                                                                    21
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     1 only became aware of the problem if they actually experienced it first-hand”); Warner
     2 Constr. Corp. v. City of L.A., 2 Cal. 3d 285, 294 (1970). “In order for non-disclosed
     3 information to be material, a plaintiff must show that ‘had the omitted information
     4 been disclosed, one would have been aware of it and behaved differently.’” Stanwood v.
     5 Mary Kay, Inc., No. SACV-12-00312-CJC (ANx), 2012 WL 7991231, at *7 (C.D. Cal.
     6 Sept. 20, 2012) (quoting Falk, 496 F. Supp. 2d at 1095).
     7           Here, plaintiffs alleged that they did not know of the health risks associated
     8 with consumption of Monster Drinks. See ¶¶29, 31–32, 36–37. No warning exists for
     9 the teenagers and adolescents that Monster targets and the warnings for others are
    10 inadequate. ¶¶89–90, 95–96. Monster Drinks have caused serious bodily injury to
    11 consumers, and Monster fails to warn of that danger. See ¶¶115–128; Ex. B. The AC
    12 sufficiently alleges that Monster had exclusive knowledge of facts — namely the
    13 dangers associated with consumption — and failed to adequately disclose such
    14 information. Plaintiffs allege that they would not have purchased the drinks had they
    15 known the truth about the dangers associated with their consumption. See ¶¶29, 31–
    16 32, 36–37. Plaintiffs have sufficiently shown that the non-disclosed information is
    17 material because they would have been aware of it and behaved differently. See Falk,
    18 496 F. Supp. 2d at 1095. Thus, the AC adequately alleges a failure to warn.
    19           F.      Plaintiffs Sufficiently Allege a Breach of Warranty Claim.
    20                   1.       Plaintiffs Adequately Pled Breach of Express Warranty.
    21           Plaintiffs have sufficiently pled that Monster breached its express warranty to
    22 plaintiffs. To prevail on this claim, plaintiffs must prove: “(1) ‘the seller’s statements
    23 constitute an affirmation of fact or promise or a description of the goods; (2) the
    24 statement was part of the basis of the bargain; and (3) the warranty was breached.’”
    25 Brown v. Hain Celestial Group, Inc., No. C 11-03082 LB, 2012 WL 6697670, at *16 (N.D.
    26 Cal. Dec. 22, 2012) (quoting Weinstat v. Dentsply Int’l, Inc., 180 Cal. App. 4th 1213, 1227
    27 (2010)). Proof of reliance on specific promises is not required, and there is a
    28 presumption that the affirmations go to the basis of the bargain. Weinstat, 180 Cal.
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     1 App. 4th at 1227. Furthermore, the focus should be on the “seller’s behavior and
     2 obligation — his or her affirmations, promises, and descriptions of the goods.” Id. at
     3 1228.
     4           Plaintiffs allege specific warranties made on the Monster Drink labels. Monster
     5 warrants, among other things, that the Monster Drinks are the “ideal combo of the
     6 right ingredients in the right proportion,” that “bigger is better … because you can
     7 never get too much of a good thing,” and that the Monster Drink “hydrates like a
     8 sports drink.” ¶210. Monster also warrants that their “products are safe.” ¶¶86, 91,
     9 130. Plaintiffs also allege that Monster has failed to disclose material information — in
    10 particular, the dangers associated with consuming Monster Drinks. ¶¶222–229; see In
    11 re Brazilian Blowout Litig., No. CV 10-8452-JFW (MANx), 2011 U.S. Dist. LEXIS
    12 40158, at *9 (C.D. Cal. Apr. 12, 2011) (applying breach of express warranty claim to
    13 nationwide class based on failure to disclose) (Mehdi Decl., Ex. 2).
    14           Because plaintiffs have alleged both specific warranties made by Monster and a
    15 failure to disclose material information, they have more than plausibly alleged
    16 warranty claims. See Brown, 2012 WL 6697670, at *16 (denying defendant’s motion to
    17 dismiss on breach of express warranty claims because plaintiffs plausibly alleged
    18 warranty claims). Therefore, whether Monster breached the alleged promises made to
    19 consumers is a question to be resolved by a jury. The same holds true for each of the
    20 state warranties plaintiffs allege that defendants have breached. See ¶214.12 As the
    21 court found in Brazilian Blowout, breach of warranty claims should apply to the entire
    22 class where there is a duty to disclose. 2011 U.S. Dist. LEXIS 40158, at *9.
    23
    24
         12
    25   Rule 10(b) does not require plaintiffs to identify which states laws apply to which
       individual plaintiff, but rather which laws apply to Monster’s conduct. See F.R.Civ.P.
    26 10(b) (numbered paragraphs must be limited to a “single set of circumstances”).
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     1                   2.       Plaintiffs Have Adequately Pled Breach of Implied
     2                            Warranty.
     3           Plaintiffs have sufficiently alleged a breach of implied warranty in the AC. See
     4 ¶¶213, 217–218, 222–230. “[W]here plaintiffs challenge food labels that are not
     5 preempted by Federal law and are otherwise allowed, courts refrain from dismissing
     6 implied warranty claims.” Bronson, 2013 WL 1629191, at * 12. The reason for this is
     7 that the implied warranty has multiple meanings and is not limited to whether the
     8 product is fit for its ordinary purpose; it also includes whether the product conforms
     9 “‘to the promises or affirmations of fact made on the container or label.’” In re Ferrero
    10 Litig., 794 F. Supp. 2d 1107, 1118 (S.D. Cal. 2011) (quoting Hauter v. Zogarts, 14 Cal.
    11 3d 104, 118 (1975)). Plaintiffs have brought their claims under that definition of
    12 merchantability, and have plausibly pled that the product does not conform to the
    13 container’s promises or affirmations. See §III.F.1., supra. Moreover, their claims are
    14 not preempted. See §III.C., supra. Accordingly, dismissal of the implied warranty
    15 claims is inappropriate.
    16           G.      Plaintiffs Have Sufficiently Pled a Violation of the MMWA.
    17           Defendants contend that plaintiffs have failed to allege individual amounts in
    18 controversy greater or equal to $25.00. ECF 28 at 24. Each of the plaintiffs allege they
    19 have been purchasing and consuming Monster Drinks over years. See ¶¶22–24. A
    20 single can of Monster Drink retails in the range of $2.00 and $4.00. All plaintiffs have
    21 alleged repeated consumption over the last five years and have adequately alleged
    22 individual amounts in controversy greater than $25.00. ¶¶29–37. Defendants’
    23 assertions that “the products at issue must cost more than $5,” is also misplaced. ECF
    24 28 at 24. This provision applies only to written warranties. 15 U.S.C. §2302(e).
    25 Plaintiffs have alleged breach of express and implied warranties under the MMWA
    26 and there is no price threshold for implied warranties under the MMWA. ¶235.
    27 Moreover, consumers can buy a 6-, 12- or 24- oz. can packs of Monster Drinks,
    28 which cost between $10.00 and $60.00.
                                                                                                    24
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     1           Finally the express warranties made on the Monster Drinks — and notably the
     2 failure to disclose material information — are not mere product descriptions. Hairston
     3 v. South Beach Beverage Co., No. CV 12-1429-JFW (DTBx), 2012 WL 1893818, at **5–7
     4 (C.D. Cal. May 18, 2012). Here, Monster expressly and impliedly promises that the
     5 Monster Drinks are safe for consumption, and hence, defect free. This case is not like
     6 Hairston, cited by defendants where the product description “all natural with vitamins”
     7 was deemed not to constitute a promise that the product is defect free. Here, Monster
     8 impliedly and expressly warrants that the Monster Drinks are safe for consumption
     9 and at the same time omits the serious health risks associated with their consumption.
    10 Monster is not describing the drinks in the warranties, it is promising they are safe, i.e.
    11 defect free. Accordingly, Monster’s omissions and express warranties on the labeling
    12 and marketing meet the MMWA requirement of a written affirmation or promise that
    13 the products are “defect free.” Accordingly, at least at the pleading stage, plaintiffs’
    14 MMWA claim survives dismissal.
    15           H.      Plaintiffs May Plead Unjust Enrichment in the Alternative.
    16           Plaintiffs are permitted to plead their claims in the alternative. F.R.Civ.P.
    17 8(d)(2). Regardless whether unjust enrichment is an “independent cause of action” or
    18 not, a party may plead in the alternative claims for restitution based on quasi-
    19 contract/unjust enrichment. ConAgra, 2012 WL 6569393, at *13 (denying motion to
    20 dismiss unjust enrichment because it was not a “standalone claim”); Astiana v. Ben &
    21 Jerry’s Homemade, Inc., No. C 10–4387 PJH, 2011 WL 2111796, at *11 (N.D. Cal. May
    22 26, 2011) (same).
    23 IV.      CONCLUSION
    24           For the foregoing reasons, motion to dismiss the AC should be denied. If the
    25 Court regards portions of the AC that can be better pled, plaintiffs respectfully
    26 request leave to amend, which should be “freely given.” See F.R.Civ.P. 15(a).
    27 Dated: May 15, 2013                          Respectfully submitted,
    28                                                           /s/Azra Z. Mehdi
                                                                                                  25
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     1                                CERTIFICATE OF SERVICE
     2           I hereby certify that on May 15, 2013, I authorized the electronic filing of the
     3 following documents with the Clerk of the Court using the CM/ECF system which
     4 will send notification of such filing to the e-mail addresses denoted on the attached
     5 Electronic Mail Notice List:
     6           1.      Plaintiffs’ Opposition to Defendants’ Motion to Dismiss First Amended
     7                   Complaint;
     8           2.      Plaintiffs’ Opposition to Defendants’ Request for Judicial Notice; and
     9           3.      Declaration of Azra Z. Mehdi in Support of Plaintiffs’ Opposition to
    10                   Defendants’ Motion to Dismiss First Amended Complaint.
    11           I certify under penalty of perjury under the laws of the United States of
    12 America that the foregoing is true and correct. Executed on May 15, 2013 at San
    13 Francisco, California.
    14
                                                                   /s/Azra Z/Mehdi
    15
                                                                     Azra Z. Mehdi
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Mailing Information for a Case 5:12-cv-02188-VAP-OP
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Manual Notice List

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  (No manual recipients)
